     Case 4:18-cr-00218-MAC-CAN Document 1 Filed 11/09/18 Page 1 of 1 PageID #: 1

AO 91 (Rev. 11/11) Criminal Complaint



                                    United States District Court
                                                            for the
                                            EASTERN DISTRICT OF TEXAS

                 United States of America                      ) SEALED
                               v.
                                                               ) To                trie                           i
                                                               ) Case No. 4:18MJ452

                  Joseph Patrick Mosher                        )
                                                               )
                                                               )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 8/8/2018 - 9/26/2018 in the county of Denton in the

     Eastern District of Texas , the defendant(s) violated:

            Code Section Offe se Description
18 U.S.C. §§ 2251(a) and (e) Sexual Exploitation of Children (and attempt)




         This criminal complaint is based on these facts:

See attached Affidavit.




         S Continued on the attached sheet.



                                                                                         omplainant s signat re

                                                                             Special Agent LeAndrew J. Mitchell, HSI


Swo to before me a d signed in my presence.


Date: 11/09/2018


City and state: Plano, Texas                                           Kimberly C. Priest Johnson, U.S. Magistrate Judge
                                                                                        Printed ame and title
